      Case 2:05-cr-00343-KJM Document 100 Filed 06/11/08 Page 1 of 2

 1   Mark J. Werksman, Esq. - CSB No. 120767
     LAW OFFICES OF MARK J. WERKSMAN
 2   888 West Sixth Street, Fourth Floor
     Los Angeles, California 90017
 3   Telephone: (213) 688-0460
     Facsimile: (213) 624-1942
 4
     Attorneys for Defendant
 5   Rosa Gasparian
 6

 7                  IN THE UNITED STATES DISTRICT COURT
 8                FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   THE UNITED STATES OF           )            CASE NO. CR.S-05-0343 FCD
     AMERICA,                       )
11                                  )            ORDER TO CONTINUE
               Plaintiff,           )            SENTENCING DATE
12                                  )
          v.                        )
13                                  )
     ROSA GASPARIAN,                )
14                                  )
               Defendant.           )
15                                  )
                                    )
16    _____________________________ )
17

18       GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED
19   that Defendant Rosa Gasparian’s sentencing hearing currently set for June 14, 2008
20   shall be continued to August 25, 2008 at 10:00 a.m.
21         IT IS FURTHER ORDERED THAT the Parties adhere to the following
22   schedule:
23         1.    Disclosure of the PSR by the Probation Department due date - July
24               21, 2008;
25         2.    Any objections to PSR report shall be sent to the Probation
26               Department on or before August 4, 2008;
27         3.    Final PSR report shall be filed with the Court on or before August 11,
28               2008;


                                             1
      Case 2:05-cr-00343-KJM Document 100 Filed 06/11/08 Page 2 of 2

 1         4.    Defendant’s Sentencing Memorandum/Objections to PSR report shall
 2               be filed with the Court on or before August 18, 2008.
 3

 4   Dated: June 11, 2008
 5
                                           _______________________________________
 6                                         FRANK C. DAMRELL, JR.
                                           UNITED STATES DISTRICT JUDGE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                             2
